                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

THE UNIVERSITY OF MISSISSIPPI                                                         PLAINTIFF
MEDICAL CENTER

VS.                                            CIVIL ACTION NO. 3:19-CV-00459-CWR-LGI

SPENCER K. SULLIVAN, M.D.;
MISSISSIPPI CENTER FOR
ADVANCED MEDICINE, P.C.,
LINNEA MCMILLAN; and
KATHRYN SUE STEVENS                                                               DEFENDANTS


                 MOTION FOR ENTRY OF AGREED FINAL JUDGMENT


       The University of Mississippi Medical Center (“UMMC”), Plaintiff herein, moves the

Court for the entry of a Final Judgment pursuant to Rule 58(d) of the Federal Rules of Civil

Procedure and the parties’ mutual settlement agreement (the “Agreed Settlement Terms”), [ECF

441] and in support thereof, UMMC would show unto the Court the following:

       1.       On October 18, 2024, the first day of trial, all parties announced to the Court that

all claims between and among them had been mutually settled and resolved.

       2.       Pursuant to the parties’ settlement agreement, the “Agreed Settlement Terms” were

presented to the Court and made a part of the record. [ECF 441].

       3.       Pursuant to Paragraph 6 of the parties’ Agreed Settlement Terms, all parties agreed

that the Court would enter an Agreed Final Judgment in favor of UMMC and against Spencer K.

Sullivan and the Mississippi Center for Advanced Medicine, P.C. in the amount of $28,323,336.00.

       4.       Due to the straightforward nature of this motion, UMMC respectfully requests that

it not be required to submit a separate supporting memorandum pursuant to Local Uniform Civil

Rule 7(b)(4).



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       WHEREFORE, UMMC respectfully moves this Court to enter an Agreed Final Judgment

in this matter awarding UMMC judgment against Spencer K. Sullivan, M.D. and Mississippi

Center for Advance Medicine, P.C. in the amount of $28,323,336.00, and which also incorporates

by reference the parties’ Agreed Settlement Terms [ECF 441] with post-judgment interest pursuant

to 28 U.S.C. § 1961. UMMC further requests all other relief, general or specific, which the Court

deems proper in the premises.

       Respectfully submitted, this 24th day of October, 2024.


                                          BY:   /s/ Robert V. Greenlee
                                                Robert V. Greenlee, MSB 100638

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                               CERTIFICATE OF SERVICE

       I Robert V. Greenlee do hereby certify that I have this day filed the above and foregoing

document with the Clerk of the Court using the ECF system which sent notification of such filing

to all counsel of record.

       SO CERTIFIED, this the 24th day of October, 2024.

                                                   /s/ Robert V. Greenlee
                                                   Robert V. Greenlee, MSB 100638




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